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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
WILLIAM C. TOTH JR., et al.,              :    Civil No. 1:22-CV-00208
                                          :
             Plaintiffs,                  :    Three Judge Panel Convened
                                          :    Pursuant to 28 U.S.C. § 2284(a)
             v.                           :
                                          :
LEIGH M. CHAPMAN, et al.,                 :
                                          :
             Defendants.                  :
                                          :
             v.                           :
                                          :
CAROL ANN CARTER, et al.,                 :
                                          :
             v.                           :
                                          :
             Intervenor-Defendants.       :

                                      ORDER

BEFORE: Kent A. Jordan, Circuit Judge, United States Court of Appeals for the
Third Circuit; Patty Shwartz, Circuit Judge, United States Court of Appeals for the
Third Circuit; Jennifer P. Wilson, District Judge, United States District Court for
the Middle District of Pennsylvania

      AND NOW, on this 7th day of March, 2022, following review of the

motions to exceed page limits for briefs in opposition to Plaintiffs’ motion for

preliminary injunction, Docs. 66 & 68, IT IS ORDERED THAT the motions are

DENIED. The court reminds counsel that all briefs shall comply with the Middle

District of Pennsylvania’s Local Rules.

                                 On behalf of the three-judge district court:

                                 s/Jennifer P. Wilson
                                 JENNIFER P. WILSON
                                 United States District Court Judge
                                 Middle District of Pennsylvania
